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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                 08-cr-87-bbc
              v.

COREY THOMAS,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Corey Thomas has written to the court to say that he objects to the court

order of restitution in his case and that he is unable to start making restitution payments

while he is in the custody of the state of Wisconsin. As I noted in the order signed on

September 18, 2009, defendant never objected to the amount of restitution he is required

to pay under the judgment and commitment order. If he wishes to object on appeal, he must

consult with his appellate counsel, Robert Ruth.

       As for defendant’s concern that he cannot start making restitution payments now, his

obligation to make regular restitution payments does not begin until he is in federal custody.

At that time, he will be subject to the Bureau of Prisons’ Inmate Financial Responsibility

Program.


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                                       ORDER

      IT IS ORDERED that defendant Corey Thomas’s objections to the order of

restitution imposed on him at his sentencing on May 15, 2009, are DENIED.

      Entered this 6th day of October, 2009.

                                        BY THE COURT:

                                        /s/
                                        __________________________________
                                        BARBARA B. CRABB
                                        District Judge




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